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                                      #:2111

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10
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11
12                        CENTRAL DISTRICT OF CALIFORNIA
13                                SOUTHERN DIVISION
14      JOHN C. EASTMAN                       Case No. 8:22-cv-00099-DOC-DFM
15
                   Plaintiff,
16
        vs.
17
18      BENNIE G. THOMPSON, et al.,

19                 Defendants.
20
21

22
23
24
25
26                                   Exhibit G
27

28
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                                 #:2112                                                           1



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      6    SELECT COMMITTEE TO INVESTIGATE THE

      7    JANUARY 6TH ATTACK ON THE U.S. CAPITOL,

      8    U.S. HOUSE OF REPRESENTATIVES,

      9    WASHINGTON, D.C.

     10

     11

     12

     13    DEPOSITION OF:    KEITH KELLOGG, JR.

     14

     15

     16

     17                                Tuesday, December 14, 2021

     18

     19                                      Washington, D.C.

     20

     21

     22           The interview in the above matter was held in Room 4480, O'Neill House Office

     23    Building, commencing at 10:02 a.m.

     24           Present:   Representatives Aguilar and Cheney.
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      1    Appearances:

      2

      3

      4

      5    For the SELECT COMMITTEE TO INVESTIGATE

      6    THE JANUARY 6TH ATTACK ON THE U.S. CAPITOL:

      7    TIM HEAPHY, CHIEF INVESTIGATIVE COUNSEL

      8    DAN GEORGE, SENIOR INVESTIGATIVE COUNSEL

      9    JENNA HOPKINS, PROFESSIONAL STAFF

     10    SAMANTHA STILES, CHIEF ADMINISTRATIVE OFFICER

     11    SADALLAH FARAH, RESEARCHER

     12    EVAN MAULDIN, CHIEF CLERK

     13    JOHN WOOD, SENIOR INVESTIGATIVE COUNSEL

     14    AND OF COUNSEL TO THE VICE CHAIR

     15

     16

     17    For KEITH KELLOGG, JR.:

     18    JOHN COALE
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      1    experts on election procedures.

      2           Q      So is that how you learned that the election -- through those conversations

      3    and maybe similar ones like them -- is that how you learned that the election -- the

      4    results weren't going to change?

      5           A      No.     It was my own personal belief.

      6           Q      Okay.

      7           A      Because I saw -- what I saw happen, I just knew by the process and what I

      8    think, that wasn't going to happen at all.

      9           Q      Did you talk to Justin Clark after the November 2020 election about

     10    challenges?

     11           A      No.

     12           Mr. George.         Okay. Ms. Cheney, I noted that you unmuted.     Do you have any

     13    questions on this topic?

     14           Ms. Cheney.         No.   I wanted to make sure we were back on the day of the 6th

     15    and going moment by moment through that.

     16           Mr. George.         That's exactly where we're headed now, Ms. Cheney.

     17           Ms. Cheney.         Great. Thank you.

     18                    BY MR. GEORGE:

     19           Q      All right.    So you mentioned earlier that you walked in, you saw Don, Jr.,

     20    Lara, Eric Trump, and Kimberly.       And then it sounds like you went to the Oval?

     21           A      Uh-huh.

     22           Q      Is that right?

     23           A      Yes.    That's correct.

     24           Q      Okay.     All right.   Approximately when was that, if you could guess?

     25           A      Maybe around 9.
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      1           A     I was.

      2           Q     Okay.    Was that before or after you were going over the President's

      3    speech?

      4           A     It happened about the same time.

      5           Q     Okay.    So let's talk about that then first.

      6           What do you remember about that phone call to the Vice President?

      7           A     First of all, that was a muted phone call.      What I mean by that is, we

      8    didn't -- I didn't hear the response -- nobody could hear the response of the Vice

      9    President.

     10           Q     So you could only hear what the President said --

     11           A     You only hear the President speaking back and forth going there. And he

     12    told the Vice President that, you know, he has legal authority to send these folks back to

     13    the respective States.

     14           And that's the reason I made a comment earlier -- I think I made it to you,

     15    Tim -- that the White House Counsel was there and he didn't say anything.

     16           Q     The White House Counsel being the gray-haired guy?

     17           A     Yeah.

     18           Q     Okay.

     19           A     I wish I could remember his name.         It was not Pat Cipollone.

     20           Q     Okay.

     21           Mr. Wood.      Can I just interrupt?

     22           If we found a photo --

     23           The Witness.      If you can give me his name, I'd remember the name.

     24           Mr. Wood.      Well, Eric Herschmann was --

     25           The Witness.      I think it was Eric.   I'm pretty sure it was Eric because -- I'm pretty
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      1    sure that's who it was.

      2           Mr. Heaphy.        He's a lawyer and he has gray hair.

      3           The Witness.       That's him.   Pretty sure it was Eric.

      4           Mr. Wood.      If we found his photo and then showed it to you --

      5           The Witness.       I can show it to you, yeah, for sure.

      6           Mr. Wood.      I can do that if you want.

      7           Mr. George.        Yeah.

      8                    BY MR. GEORGE:

      9           Q     And while John's pulling that up, so you said he told the Vice President that

     10    he has the legal authority to reject certain votes. Is that what you said?

     11           A     That he had the constitutional authority to do that, yes.

     12           Q     Okay.    As President of the Senate in his Vice President's role --

     13           A     I think -- I didn't -- I can't recall, Dan, the exact words.

     14           Q     Okay.

     15           A     But words to the effect, in his role, what he was going to do that day, the

     16    answer's yes.

     17           Q     What else did he say to the Vice President?

     18           A     That's it.    He was just, you know, disappointed that he was not apparently

     19    going to do that.    But it was like that was kind of the conversation. And then by that

     20    time, the President, the Vice President -- excuse me, Dan.

     21           Q     Yeah.    Of course.

     22           A     That's him.

     23           Q     Eric Herschmann?

     24           Mr. Wood.      Yes.

     25           The Witness.       Because the Vice President was en route to the Capitol.   I think
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      1    he had -- at that time he had gotten there, the conversation was over.

      2                   BY MR. GEORGE:

      3           Q     Okay.     So you said the President was disappointed.

      4           A     Uh-huh.

      5           Q     I would assume from that phone call that the Vice President probably

      6    sounded like he told him he wasn't going to --

      7           A     I would, based on what has happened, I would probably assume that, yes.

      8           Q     Okay.     Let me rephrase that for the record's benefit.

      9           I would assume from that call, what the President said to the Vice President, that

     10    the Vice President told the President he wasn't going to use that authority that the

     11    President said he had to reject certain votes?

     12           A     Yeah.    I would make the same assumption, Dan, yeah.

     13           Q     Okay.     It's also been reported that the President said to the Vice President

     14    that something to the effect of, "You don't have the courage to make a hard decision."

     15    And maybe not those exact words, but something like that.

     16           Do you remember anything like that?

     17           A     Words -- and I don't remember exactly either, but something like that, yeah.

     18    Like you're not tough enough to make the call.

     19           Q     Okay.    Do you remember anything else along those lines?

     20           A     No, because it was a relatively short conversation.

     21           Q     What was the President's demeanor like during the call?

     22           A     Well, he was -- his demeanor, I would say, was frustrated. He hung up.

     23    And after he hung up, we went right back to speech prep.      He didn't get up, walk out,

     24    yell, throw things.   He just said okay and went back to the speech discussion.

     25           Q     Okay.     And we're going to talk about that speech discussion, but it's been
